O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                           for the
                                                        Western District of North Carolina

                     United States of America                                )
                                v.                                           )
                                                                             )   Case No: 5:04CR00018-005
                  KELSEY LAMON ENGLAND
                                                                             )   USM No: 19567-058
Date of Previous Judgment: January 12, 2006                                  )   Norman Butler
(Use Date of Last Amended Judgment if Applicable)                            )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.  GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 121         months is reduced to 120 months                .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    35                Amended Offense Level:                                              33
Criminal History Category: III               Criminal History Category:                                          III
Previous Guideline Range:  210 to 262 months Amended Guideline Range:                                            168       to 210   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain): The previous term of imprisonment imposed was less than the applicable guideline range at
                          the time of sentencing as a result of a departure motion; however, any further reduction is
                          limited by the statutorily required minimum sentence, per USSG §5G1.1.


III. ADDITIONAL COMMENTS
Upon release from imprisonment, and absent a residential plan accepted by the U.S. Probation Officer prior to
release from incarceration, it is ordered that as a condition of supervised release the defendant shall submit to
the local Residential Reentry Center for a period not to exceed 90 days, with work release, at the direction of

Except as provided above, all provisions of the judgment dated                       January 12, 2006   shall remain in effect.
IT IS SO ORDERED.

Order Date:          December 12, 2008


Effective Date:
                       (if different from order date)


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